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   4   Houston, Texas 77279
       Telephone: 888.550.8575
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   7
   8                     UNITED STATES DISTRICT COURT
   9                   SOUTHERN DISTRICT OF CALIFORNIA
  10
  11   IN RE: OUTLAW LABORATORY, LP          Case No. 3:18-cv-840-GPC-BGS
       LITIGATION
  12
                                             Outlaw Laboratory, L.P., Michael
  13                                         Wear, and Shawn Lynch’s Ex
                                             Parte Motion to Prevent Tauler
  14                                         Smith’s Disclosure of Privileged
  15                                         Materials

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                                                          CASE NO. 3:18-CV-840-GPC-BGS
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   1         Subject to and without waiving their Ex Parte Motion to Stay (ECF 319), the
   2
       Outlaw Defendants file this ex parte motion to prevent Tauler Smith from (further)
   3
       disclosing Outlaw’s privileged materials.
   4
   5         Tauler Smith has identified two trial exhibits, an Exhibit R and Exhibit S.

   6   These exhibits comprise privileged communications between the Outlaw
   7   Defendants and their attorneys. FED. R. EVID. 502(g). These emails are protected
   8
       from disclosure by the attorney–client privilege. Id. The privilege belongs to
   9
       Outlaw; not to Tauler Smith. Tennenbaum v. Deloitte & Touche, 77 F.3d 337, 340–
  10
  11   41 (9th Cir. 1996) (only the holder of the attorney-client privilege may waive it.).
  12   Outlaw has—repeatedly—asked that Tauler Smith not divulge and publish Outlaw’s
  13
       privileged and confidential information, e.g.:
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             Tauler Smith has ignored its former clients’ request that it maintain the
  25
       confidentiality of its former clients’ privileged materials. That is, Tauler Smith has
  26
  27   published these privileged materials without Outlaw’s consent. The Outlaw

  28   Defendants ask the Court review Tauler Smith’s Exhibits R and S in camara,

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   1   determine whether the emails are privileged, and then order Tauler Smith to stop
   2
       publishing and sharing the Outlaw Defendants’ privileged materials.
   3
   4
       October 30, 2020.                           THE REAGAN LAW FIRM
   5
   6
   7                                               By: /s/ Sean Reagan
                                                         Outlaw Laboratory, LP
   8                                                     Michael Wear
   9                                                     Shawn Lynch

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   1                           CERTIFICATE OF SERVICE
   2                           Case No. 3:18-cv-840-GPC-BGS
   3         I HEREBY CERTIFY that on October 30, 2020, I filed the following
   4   documents with the Clerk of the Court using CM/ECF. I also certify that the
   5   foregoing document is being served this day either by Notice of Electronic Filing
   6   generated by CM/ECF or by U.S. mail on all counsel of record entitled to receive
   7   service.
   8
   9                                               By: /s Sean M. Reagan
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